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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

VANESSA BLAIN,

        Plaintiff,                                   Case No.: 8-20-cv-00049-SCB-SPF
v.

CENTURION OF FLORIDA, LLC,
MHM HEALTH PROFESSIONALS, INC.,
MHM HEALTH PROFESSIONALS LLC,
SHANE BAKER, IN HIS PERSONAL CAPACITY
AND IN HIS OFFICIAL CAPACITY AS WARDEN
OF HARDEE CORRECTIONAL INSTITUTION, AND
HARDEE CORRECTIONAL INSTITUTION.

        Defendants.
             ________________________________________ /

     PLAINTIFF’S SECOND AMENDED COMPLAINT FOR DAMAGES, INJUNCTIVE
                    RELIEF AND REQUEST FOR JURY TRIAL

        Plaintiff, VANESSA BLAIN, files this action against the Defendants, CENTURION OF

FLORIDA        LLC,      MHM     HEALTH        PROFESSIONALS          INC.,    MHM       HEALTH

PROFESSIONALS, LLC, SHANE BAKER, in his personal capacity and in his official capacity

as Warden of Hardee Correctional Institution, and HARDEE CORRECTIONAL INSTITUTION

and states as follows:

        1)      This is an action exceeding $15,000.00 in damages, exclusive of interest, costs

and attorneys’ fees. All acts that give rise to this action occurred in Hardee County.

        2)      The Plaintiff, VANESSA BLAIN, is a resident of Sebring, Highlands County, FL

and is a former employee of the Defendant, CENTURION OF FLORIDA, LLC, “Centurion”

who subcontracts with MHM HEALTH PROFFESSIONALS LLC AND MHM HEALTH

PROFESSIONALS, INC., “MHM” for the FLORIDA DEPARTMENT OF CORRECTIONS at

the HARDEE CORRECTIONAL INSTITUTION,                       who was employed as a Pharmacist
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Tech/Nursing Assistant and is 31 years old. She is African-American. She had good reviews at

work and was not terminated for cause or for any misconduct on her part by the Defendants.

       3)      The Defendant, SHANE BAKER, was employed, at all times relevant to this

action, by the Florida Department of Corrections as prison warden of Hardee Correctional

Institution, an agency of the State of Florida which employs numerous individuals in Hardee

County, Florida.

       4)      The Defendant, HARDEE CORRECTIONAL INSTITUTION is a prison which is

part of the State of Florida’s Department of Corrections in Hardee County, Florida.

       5)      The Defendant, CENTURION OF FLORIDA, LLC, subcontracts with MHM

HEALTH PROFESSIONALS, INC., to provide medical staffing to the Florida Department of

Corrections at Hardee Correctional Institution in Hardee County, Florida.

       6)      This Court has jurisdiction over the parties herein and venue is proper in the

Tenth Judicial Circuit Court in and for Hardee County because this Judicial District is the

location where Defendant operates its facilities and is where the unlawful employment practices

detailed below occurred. This case has now been removed to the federal district court for the

middle district of Florida.

       7)      The Plaintiff, VANESSA BLAIN, has filed a charge of discrimination with the

Florida Commission on Human Relations on March 11, 2019, which was dismissed on June 17,

2019. A copy of the charge and notice of dismissal are attached as Exhibit A and B. The

Defendant has met all conditions precedent to bringing this action.

       8) On October 13, 2017, Ms. Blain contacted Melissa Bourke, an HR administrator at

Centurion, to complain of “work related conflicts and issues…” Ms. Blain followed up on

October 27, 2017 and November 7, 2017, and email communication between them indicates that
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there were missed calls between them. It appears no affirmative action was taken by Defendant

Centurion after a few attempts to contact Ms. Blain by telephone.

       9) On February 27, 2018, Ms. Blain, on the recommendation of her supervisor Ms.

Brummett, wrote an incident report after Wendy Edwards, an employee, purposely hit her with a

bag. The incident occurred on February 26, 2018.

       10) On March 9, 2018, Ms. Blain complained that she was not treated in the same way as

other employees in that other, more recently hired employees, were allowed to take leave that

they had not accumulated, whereas she was not. This complaint was made to Alissa Zinninger, a

manager at Defendant Centurion. Ms. Blain had previously requested time off under the

company policy that allowed up to 40 hours of leave “in the negative” meaning time that had not

been accumulated. She became aware that another, white employee, had been allowed such leave

but she had not. Moreover, Ms. Blain’s time off had been pre-approved.

       11) On September 24, 2018, Ms. Blain complained in an email to Alissa Zinninger, a

manager a Centurion, inter alia, that co-employee Wingo had harassed her and that she made

racial comments and used the “N” word. She also complained that another co-worker named

Victoria also made racial comments using the “N” word. Ms. Blain further stated that she had

complained previously to her supervisors Ms. Brummett and Ms. Taylor and that no corrective

action had been taken. The use of these racial epithets in her presence were demeaning and

intended to harass Ms. Blain.

       12) One day after she made her complaint concerning racial epithets, on September 25,

2018, Ms. Blain’s personal radio was destroyed. Ms. Blain made an incident report on that day

that it had been destroyed maliciously. The employee handbook specifically prohibits intentional

damage to the property of a co-worker. However, her supervisor Carola Brummett responded
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that if she placed a radio in an area accessed by others, and had no proof of who did it and why,

no action could be taken. No investigation was undertaken.

         13) On October 23, 2018, Ms. Blain was informed that a fellow employee named Susan

McGrath (Poole) told a prison guard at Hardee Correctional, M. Ybarra, that “she needed to find

drugs” on Ms. Blain in order to get her fired. The prison guard reported the conversation. Ms.

Blain filed an incident report. Susan McGrath (Poole) is Caucasian (white).

         14) On October 26, 2018 Ms. Blain was informed that Susan McGrath (Poole) had

accused Ms. Blain of damaging her car. However, surveillance cameras showed that Ms. Blain

had not damaged the vehicle at issue.

         15) On October 26, 2018, the Defendant Warden S. Baker, “cut” the gate passes on both

Ms. Blain and on Susan McGrath (Poole), stating that neither was allowed to work on the prison

property. Although there is indication that Ms. McGrath’s access was cut due to an unspecified

violation of policy in an incident report created by the Defendants Centurion//MHM, Ms. Blain’s

access termination, also created by Defendant Baker, does not cite any reason. No white

employees had their passes cut without cause on October 26, 2018 or at any time relevant to this

action. Defendant Shane Barker specifically told Ms. Blain that she had committed no

misconduct and her pass was not being taken for misconduct.

         16) On October 27, 2018, Ms. Blain was told to gather her belongings because she was

being transferred to a different prison. However, she was never allowed to work at a different

prison and was terminated. She was replaced by a Caucasian (white) employee.

         17) The Employee who was overheard planning to plant drugs on Ms. Blain and who

falsely accused Ms. Blain of damaging her car, Ms. McGrath, had her gate access terminated for

cause.
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       18) The plotting co-employee and the Plaintiff, VANESSA BLAIN, both had their

prison access revoked by the Warden which lead to the Plaintiff being terminated, even though

the Plaintiff had not performed any wrongful act. The Employer took the position that without

prison access, they could not continue to employ Ms. Blain. The Employer made no further

efforts to employ Ms. Blain at any of the various other correctional facilities at which the

Employer provides medical services. Ms. Blain was replaced with a Caucasian (white)

employee. No Caucasian (white) employees had their prison access revoked without cause at any

time relevant to this action.

   COUNT I-DEFENDANTS CENTURION OF FLORIDA, LLC AND MHM HEALTH
                      PROFESSIONALS INC/LLC.


       FLORIDA CIVIL RIGHTS ACT-DISCRIMINATION ON BASIS OF RACE

       19)     Paragraphs 1-18 are re-alleged and incorporated herein.

       20)     Plaintiff, VANESSA BLAIN, has filed a complaint with the Equal Employment

Opportunity Commission and with the Florida Commission on Human Relations on or about on

March 11, 2019, which were dismissed on June 17, 2019, alleging discrimination on the basis of

race. (A copy of the complaint and determination are attached as Exhibit A and Exhibit B).

       21) Ms. Blain is a member of a protected class in that she is African American.

       22) As a result of her race, Ms. Blain was subjected to a hostile work environment in that

she was exposed to racial epithets by co-workers and no corrective action was taken by her

employer to correct these actions despite Ms. Blain’s complaint in writing regarding them on

September 24, 2018. Moreover, when her personal property was destroyed the next day, no

action was taken to investigate who or why her property had been destroyed.
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       23) Ms. Blain was physically attacked with a bag by a co-worker on February 27, 2018,

was the victim of a plot to plant drugs on her on or about October 23, 2018, and no action was

taken against the offending employees in either case by the Defendant Employers. However,

there was disparate treatment of Ms. Blain because of her race, in that even though she was the

victim of an assault, and a plot to have drugs planted on her, she was terminated. No Caucasian

employees were similarly treated. In addition, she was replaced by a Caucasian (white)

employee.

       24) Ms. Blain was otherwise qualified for the position as a pharmacy technician that she

enjoyed with the Defendant Employers. Her evaluations indicated she was a good employee.

       25) These Employers are both employers of Ms. Blain, in that both were responsible for

paying her and supervising her, and both employers were responsible for the working conditions.

Although MHM may now be MHM LLC rather than a corporation, at all times relevant to Ms.

Blain’s Complaint of Discrimination, she was employed by MHM Health Professionals, Inc. It is

the same entity, which this Defendant has not disputed. In addition, Employer Defendant

Centurion conducted Ms. Blain’s employee evaluations, paid her, and gave her their employee

handbook. In addition, Centurion addressed all complaints as the Employer. As such, Centurion

is properly named as an Employer.

       26)   These actions were taken against Ms. Blain because she is African-Amercian. Ms.

Blain has suffered damages as a result of the actions of these Employers.

       27)     Plaintiff seeks injunctive relief, back pay and other damages under the Florida

Statute Section 760.11.

        WHEREFORE, the Plaintiff, VANESSA BLAIN, seeks an order from the Court:
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                (A)     Awarding compensatory damages as allowed under law for lost wages and

any other relief deemed proper by the Court and allowed by law, including emotional pain,

suffering and humiliation caused by Defendant’s act of discrimination against the Plaintiff;

                (B)     Awarding payment of a reasonable attorney's fee and costs of the action

and such other and further relief as the Court may deem just and proper against the Defendants;

                (C)     Enjoining the Defendant from discriminating in the future on the basis of

the Plaintiff’s race.

                (D)     Awarding the Plaintiff punitive damages (unless the party is specifically

exempt from payment of punitive damages by law) so as to punish and deter Defendant from

committing outrageous acts of discrimination in the future.

                                COUNT II-ALL DEFENDANTS

                        FLORIDA CIVIL RIGHTS ACT-RETALIATION

         28)    Paragraphs 1-27 are re-alleged and incorporated herein.

         29)    Plaintiff, VANESSA BLAIN, has filed a complaint with the Equal Employment

Opportunity Commission and with the Florida Commission on Human Relations on or about on

March 11, 2019, which was dismissed on June 17, 2019, alleging discrimination on the basis of

retaliation. (A copy of the complaint and determination are attached as Exhibit A and Exhibit B).

        30) Ms. Blain wrote an incident report and complained to the Defendant Employers

Centurion and MHM and to Warden Shane Baker and Hardee Correctional Institution of the

attempts by Susan McGrath to procure an employee of Defendant Hardee Correctional to plant

drugs on Ms. Blain. Ms. McGrath actions were taken because of Ms. Blain’s race and complaints

of racial discrimination. Ms. McGrath is Caucasian (white).
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          31) Defendants, Centurion, MHM, Warden Shane Baker and Hardee Correctional

retaliated against Ms. Blain for having made a complaint in that the Defendants Warden Shane

Baker and Hardee Correctional cut her pass for making a complaint about discrimination, and

that Centurion and MHM terminated Ms. Blain for making this complaint. These adverse actions

were taken because of her race and because Ms. Blain had complained of actions being taken

against her because of her race. No other similarly situated white employees had their passes cut

without cause.

          32) The fact that the Defendant, Warden Shane Baker and Hardee Correctional Institution

cut her pass was an action taken to punish Ms. Blain for racial complaints and because she is

African American, and was an action taken with knowledge by these Defendants that she could

not be employed there without such access, effectively terminating her employment. In addition,

the only reason Ms. Blain had her gate pass cut by the Defendant, Warden Shane Baker and

Hardee Correctional is because she is African-American, as no other reason was provided and

there is no other reason. Moreover, no Caucasian (white) employees had their passes cut without

cause; therefore, Ms. Blain, who is African-American, was treated less favorably than other

persons similarly situated. No white persons employed by Centurion, MHM or the prison had

their passes cut without cause.

          33) The Defendants, Centurion and MHM could have employed Ms. Blain elsewhere

after the prison pass was cut but did not do so. Ms. Blain was replaced by a Caucasian (white)

person.

          34) The Defendants, MHM and Centurion further conspired with Warden Shane Baker

and Hardee Correctional to have Ms. Blain’s gate pass cut by responding to the Defendant,

Warden Shane Baker and Hardee Correctional that Ms. Blain had been rude to employees. This
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was done after all of the Defendants were informed of Ms. McGrath’s efforts to have Ms. Blain

terminated, and was in retaliation for Ms. Blain having made complaints about adverse treatment

due to her race.

       35) Ms. Blain suffered a loss of employment as a result of all of the Defendants’ acts,

and this adverse action was taken against her because she is African-American and she made a

complaint about action being taken against her because of her race. No other similarly situated

employees who are white had their passes cut without cause. Ms. Blain was specifically

informed by Defendant Shane Baker that her gate pass was not being taken for any misconduct

on her part. Defendants MHM and Centurion specifically informed Ms. Blain that the only

reason her employment was discontinued is because of the lack of the gate pass. Similarly

situated white employees, e.g., employees with good evaluations and who had not committed

misconduct, were treated more favorably in that they were allowed to keep their jobs.

       36) Ms. Blain had a right to complain of her racially disparate treatment.

       37) Ms. Blain’s specific complaints of racial discrimination were made on September 24,

2018, to Centurion and MHM and less than one month before she was terminated. Her complaint

to Defendant, Warden Shane Baker and Hardee Correctional were made on October 23, 2018,

within three days of her gate pass being cut on October 26, 2018.

       38)     Plaintiff seeks injunctive relief, back pay and other damages under the Florida

Statute Section 760.11.

       WHEREFORE, the Plaintiff, VANESSA BLAIN, seeks an order from the Court:

               (A)    Awarding compensatory damages as allowed under law for lost wages and

any other relief deemed proper by the Court and allowed by law, including emotional pain,

suffering and humiliation caused by Defendant’s act of discrimination against the Plaintiff;
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                 (B)     Awarding payment of a reasonable attorney's fee and costs of the action

 and such other and further relief as the Court may deem just and proper against the Defendants;

                 (C)     Enjoining the Defendant from discriminating in the future on the basis of

 the Plaintiff’s race.

                 (D)     Awarding the Plaintiff punitive (unless the party is specifically exempt

 from payment of punitive damages by law) damages so as to punish and deter Defendant from

 committing outrageous acts of discrimination in the future.

                               COUNT III-CENTURION and MHM

                                    42 U.S.C. Sec. 1983 CLAIM

         39.     Paragraphs 1-38 are re-alleged and incorporated herein

         40.    The Defendants, acting under color of state law, acted in concert and individually

 to prevent the Plaintiff, VANESSA BLAIN, from keeping her job, or from obtaining similar

 positions in other prisons.

         41. The Defendants in this action were two private companies contracting with a state

 actor, Hardee Correctional and Defendant Warden Shane Baker. As such, the actions of the two

 private defendants, MHM and Centurion are considered to be actions under color of state law as

 they contract with the State of Florida, and all of their employment actions are inextricably

 intertwined with the actions and facilities of the state of Florida.

         42. The private Defendants used the pretext that the gate cut by the Defendants, Warden

 Shane Baker and Hardee Correctional did not allow them to continue to employ Ms. Blain.

 However, there were other prisons with similar contracts to which these Defendants could have

 transferred Ms. Blain. In addition, all of the actions and inactions previously alleged with regard

 to Ms. Blain’s complaints of physical assault, use of racial epithets around her in an effort to
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 demean and insult her, destruction of her property, were all under color of state law as these

 Defendants are state actors.

         43. The actions of these Defendants have caused Ms. Blain great economic, and other

 harm, and have caused her to lose her employment.

         WHEREFORE, the Plaintiff, VANESSA BLAIN, seeks an order from the Court:

                 (A)     Awarding compensatory damages as allowed under law for lost wages and

 any other relief deemed proper by the Court and allowed by law, including emotional pain,

 suffering and humiliation caused by Defendant’s act of discrimination against the Plaintiff;

                 (B)     Awarding payment of a reasonable attorney's fee and costs of the action

 and such other and further relief as the Court may deem just and proper against the Defendants;

                 (C)     Enjoining the Defendant from discriminating in the future on the basis of

 the Plaintiff’s race.

                 (D)     Awarding the Plaintiff punitive (unless the party is specifically exempt

 from payment of punitive damages by law) damages so as to punish and deter Defendant from

 committing outrageous acts of discrimination in the future.

                         COUNT IV-BAKER and HARDEE CORRECTIONAL

                                             42 USC sec 1981

         44) Paragraphs 1-43 are re-alleged and incorporated herein.

         45) Plaintiff, VANESSA BLAIN, has been denied her employment and access to Hardee

 Correctional Institution based on racial animus of the parties because she is African-American.

         46) The Defendants Baker and Hardee Correctional knew that Ms. Blain needed her gate

 access to continue working, and they had no basis other than her race and complaints of racial
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 harassment for taking away her gate pass. No white persons employed by these Defendants had

 their gate passes cut without cause.

         47) By depriving Ms. Blain of her gate pass, these Defendants effectively denied Ms.

 Blain her employment. She was treated less favorably than white employees, none of whom had

 their gate passes cut without cause. She was replaced by a white employee.

         WHEREFORE, the Plaintiff, VANESSA BLAIN, seeks an order from the Court:

                 (A)     Awarding compensatory damages as allowed under law for lost wages and

 any other relief deemed proper by the Court and allowed by law, including emotional pain,

 suffering and humiliation caused by Defendant’s act of discrimination against the Plaintiff;

                 (B)     Awarding payment of a reasonable attorney's fee and costs of the action

 and such other and further relief as the Court may deem just and proper against the Defendants;

                 (C)     Enjoining the Defendant from discriminating in the future on the basis of

 the Plaintiff’s race.

                 (D)     Awarding the Plaintiff punitive (unless the party is specifically exempt

 from payment of punitive damages by law) damages so as to punish and deter Defendant from

 committing outrageous acts of discrimination in the future.

                       COUNT V-BAKER AND HARDEE CORRECTIONAL

                                    42 U.S.C. Sec. 1983 CLAIM

         48)    Paragraphs 1-47 are re-alleged and incorporated herein

         49) At all times relevant to this complaint, the Defendants, Warden Shane Baker and

 Hardee Correctional were acting under color of state law.

         50) Ms. Blain was denied the right to enter her place of employment by these state

 Defendants solely on the basis of racial animus. There was no other cause for the gate cut and the
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 action was specifically taken because she was African-American and was the target of white

 employees who targeted her because of her race. No white employees had their passes cut

 without cause, so she was treated less favorably than white employees. She was replaced by a

 white employee.

         51) The actions of the Defendants Baker and Hardee Correctional deprived her of her

 employment.

         WHEREFORE, the Plaintiff, VANESSA BLAIN, seeks an order from the Court:

                 (A)     Awarding compensatory damages as allowed under law for lost wages and

 any other relief deemed proper by the Court and allowed by law, including emotional pain,

 suffering and humiliation caused by Defendant’s act of discrimination against the Plaintiff;

                 (B)     Awarding payment of a reasonable attorney's fee and costs of the action

 and such other and further relief as the Court may deem just and proper against the Defendants;

                 (C)     Enjoining the Defendant from discriminating in the future on the basis of

 the Plaintiff’s race.

                 (D)     Awarding the Plaintiff punitive (unless the party is specifically exempt

 from payment of punitive damages by law) damages so as to punish and deter Defendant from

             COUNT VI-DEFENDANTS BAKER AND HARDEE CORRECTIONAL

         FLORIDA CIVIL RIGHTS ACT-DISCRIMINATION ON BASIS OF RACE


         52) Paragraphs 1-51 are re-alleged and incorporated by reference.

         53) Although Defendants Baker and Hardee Correctional were not the direct employers

 of Ms. Blain, they contracted medical services to their prison to intermediary parties, and were in

 a position to control various aspects of the employment of Ms. Blain, including her access to the

 worksite.
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         54) At all times relevant to the acts alleged herein, the state Defendants had significant

 control over major components of the employment of Ms. Blain, including her access to the

 worksite. In addition, it appears that the state actors took employment matters into account in

 cutting Ms. Blain’s gate pass, including previous complaints by her and against her, which were

 related to the fact that she was African-American.    No white persons had their passes cut

 without cause; Ms. Blain, who is black was treated less favorably than white employees of the

 Defendants.

        55) Specifically, when the issue came up of a potential plan to plant or have drugs found

 on Ms. Blain in order to have her terminated, the state defendants reviewed complaints about Ms.

 Blain from Centurion and MHM and acted in concert with Centurion and MHM as co-employers

 in determining Ms. Blain’s gate access.

        56) The actions taken against Ms. Blain were taken because she is African-American and

 because she had complained of racist acts against her. No white employees have had their passes

 cut without cause. Ms. Blain was specifically told that she had not committed any wrongful act

 warranting the termination of her gate pass.

        57) These acts of the state Defendants have denied Ms. Blain her employment.

        WHEREFORE, the Plaintiff, VANESSA BLAIN, seeks an order from the Court:

                (A)    Awarding compensatory damages as allowed under law for lost wages and

 any other relief deemed proper by the Court and allowed by law, including emotional pain,

 suffering and humiliation caused by Defendant’s act of discrimination against the Plaintiff;

                (B)    Awarding payment of a reasonable attorney's fee and costs of the action

 and such other and further relief as the Court may deem just and proper against the Defendants;
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                 (C)     Enjoining the Defendant from discriminating in the future on the basis of

 the Plaintiff’s race.

                 (D)     Awarding the Plaintiff punitive (unless the party is specifically exempt

 from payment of punitive damages by law) damages so as to punish and deter Defendant from



 Date:      April 30, 2020



                                                       ____/S/ Nora Leto _________
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                                                       nleto@kaylor-kaylor.com
                                                       chr@kaylor-kaylor.com

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 30th day of April, 2020, I electronically filed the
 foregoing with using the CM/ECF system, which will provide an electronic copy to Thomas R.
 Thompson Esq., Mallory R. Bennett, Esq., 1330 Thomasville Road, Tallahassee, FL 32303,
 tom@tcslawfirm.net, rebecca@tcslawfirm.net, mallory@tcslawfirm.net and Richard C. McCrea,
 Jr, Esq., Catherine H. Molloy, Esq., Cayla M. Page, Esq, 101 E. Kennedy Boulevard, Suite 1900,
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                                                       By:      /s/ Nora Leto___
                                                             Nora Leto
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                                                     EXHIBIT A
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                                                     EXHIBIT B
